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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
MIKHAIL FRIDAM, GERMAN KHAN, )
PETR AVEN,                          )
                                    )
            Plaintiffs,             )
                                    )
v.                                  )               No. 1:17-cv-2041-RJL
                                    )
BEAN LLC, et al.,                   )
                                    )
            Defendants.             )
____________________________________)

        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
      NON-PARTY IGOR DANCHENKO’S MOTION TO STRIKE PLAINTIFFS’
        IMPROPER NOTICE OF FAILURE TO FILE TIMELY RESPONSE,
       AND TO HOLD PLAINTIFFS’ MOTION TO COMPEL IN ABEYANCE
           PENDING SERVICE ON NON-PARTY IGOR DANCHENKO

       Non-party Igor Danchenko (“Mr. Danchenko”), through counsel and pursuant to Local

Civ. R. 7(a), submits this Memorandum of Points and Authorities in support of his motion to (1)

strike Plaintiffs’ improper Notice of Non-party Igor Danchenko’s Failure to File Timely Response,

ECF No. 119; and (2) hold Plaintiffs’ Motion to Compel, ECF No. 109, in abeyance until it has

been served on Mr. Danchenko as required by Fed. R. Civ. P. 5(b)(2) and Local Civ. R. 5.4(d)(1)

(“Motion to Strike and Hold in Abeyance”). Plaintiffs have not served Mr. Danchenko with their

pending Motion to Compel. Accordingly, Mr. Danchenko’s fourteen-day period of time to

respond to the Motion to Compel has not started running. See Local Civ. R. 7(b).

   1. Argument

       Plaintiffs filed the Motion to Compel on October 23, 2020, but never properly served it.

Plaintiffs’ certificate of service states that they attempted to serve Mr. Danchenko by two means:

(1) “using the CM/ECF system”; and (2) causing a copy “to be served on counsel for non-party
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Igor Danchenko . . . .” Mot. to Compel at 3. Neither method was permissible. First, Mr.

Danchenko was not (and still is not) registered with the Court’s electronic filing system so he could

not be served by electronic filing pursuant to Fed. R. Civ. P. 5(b)(2)(E). See Local Civ. R. 5.4(d)(1)

(permitting service on pro se parties who have CM/ECF accounts).

       Second, service on a person’s attorney is only effective if that person is a party to the action.

See Fed. R. Civ. P. 5(b)(1) (emphasis added) (“If a party is represented by an attorney, service

under this rule must be made on the attorney . . . .”). Rule 5(b)(1) “is inapplicable to [non-parties],

because the rule expressly applies only to parties.” Lehman v. Kornblau, 206 F.R.D. 345, 347

(E.D.N.Y. 2001) (discussing service of a subpoena); see also Inland Waters Pollution Control,

Inc. v. Jigawon, Inc., No. 05-cv-74785, 2008 WL 11357838, at *2 (E.D. Mich. Feb. 21, 2008)

(“Fisher is not a party. Rule 5 does not apply . . . .”). Although the case law concerning service

of motions on non-parties is limited, the plain language of Rule 5 is clear. Furthermore, the federal

rules of procedure routinely impose a different and heightened standard for serving papers on non-

parties. See, e.g., Fariss v. Lynchburg Foundry, 769 F.2d 958, 962 (4th Cir. 1985) (discussing

Fed. R. App. P. 25) (“[A] party may be served through his attorney, Fed. R. Civ. P. 5(b), but

nonparties must be personally served.”); cf. Fed. R. Civ. P. 45(b)(1) (“Serving a subpoena requires

delivering a copy to the named person . . . .”). Because Mr. Danchenko is not a party, Rule 5(b)(1)

does not authorize service of papers on him through counsel. Instead, service must be made

pursuant to Rule 5(b)(2).1




1
        Emailing the Motion to Mark E. Schamel does not satisfy Rule 5(b)(2)(F) because neither
Mr. Schamel nor Mr. Danchenko consented in writing to accept service in that manner. Notably,
Plaintiffs’ counsel recognizes that Mr. Schamel “never did” formally accept service of the Motion.
Decl. of A. Lewis in Support of Proposed Order (“Lewis Decl.”) at 3 ¶ 12, ECF No. 119-1. Indeed,
Plaintiffs’ counsel asked Mr. Schamel on November 30, 2020, whether Mr. Schamel would
“accept service of the motion” or whether he is “not be representing Mr. Danchenko.” Lewis
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   2. Mr. Danchenko Hereby Conditionally Consents to Accept Service of the Motion.

        Notwithstanding Plaintiffs’ improper and ineffective attempt to serve Mr. Danchenko, Mr.

Danchenko is willing to voluntarily accept service of Plaintiffs’ Motion to Compel, pursuant to

Fed. R. Civ. P. 5(b)(2)(F), should the Court grant his Motion to Strike and Hold in Abeyance. In

that case, Mr. Danchenko would have fourteen days from the date of the Court’s order to file a

response to Plaintiffs Motion to Compel.        See Fed. R. Civ. P. 6(a); Local Civ. R. 7(b).

Notwithstanding Mr. Danchenko’s conditional consent to accept service of the pending Motion to

Compel, he reserves all rights to be properly served with all future filings pursuant to Fed. R. Civ.

P. 5(b)(2)(A)-(E).



Date:   January 8, 2021                                       Respectfully submitted,


                                                              /s/ Mark E. Schamel     d
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Decl., Ex. A, ECF No. 119-2. Plaintiffs acknowledge that “Mr. Schamel did not respond to [that]
email.” Lewis Decl. at 3 ¶ 13.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 8, 2021, I caused a copy of the foregoing to be sent via the

Court’s CM/ECF system to all counsel of record who have entered an appearance in this case.




                                                             /s/ Mark E. Schamel        d
                                                             Mark E. Schamel
